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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS


                                 )
UNITED STATES OF AMERICA         )
                                 )
          v.                     )      CRIM. NO. 15-cr-10271-WGY
                                 )
ALEX LEVIN                       )
                                 )


                APPEARANCE OF COUNSEL FOR DEFENDANT



     Please enter my appearance on behalf of Alex Levin.



                                     ALEX LEVIN
                                     By His Attorneys,

                                     CARNEY & ASSOCIATES


                                     J. W. Carney, Jr.
                                     J. W. Carney, Jr.
                                     B.B.O. # 074760

                                     Carney & Associates
                                     20 Park Plaza, Suite 1405
                                     Boston, MA 02116
                                     ph: 617-933-0350
                                     jcarney@CARNEYdefense.com


Dated: September 28, 2015
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                            Certificate of Service

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                                          J. W. Carney, Jr.
                                          J. W. Carney, Jr.
Dated: September 28, 2015
